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 7

 8                       UNITED STATES DISTRICT COURT
 9                     SOUTHERN DISTRICT OF CALIFORNIA
10 FIREARMS POLICY COALITION,     ) Case No. 23cv0400-LL-DDL
11   INC.; CALIFORNIA GUN RIGHTS  )
     FOUNDATION; SAN DIEGO COUNTY ) DEFENDANT CITY OF SAN
12   GUN OWNERS PAC,              ) DIEGO’S NOTICE OF JOINDER
13                                ) AND JOINDER IN CO-
                Plaintiffs,       ) DEFENDANTS’ RESPONSES TO
14                                ) ORDER TO SHOW CAUSE
15         v.                     )
                                  ) By invitation of the Court (ECF No. 18)
16   CITY OF SAN DIEGO; COUNTY OF )
17   IMPERIAL; COUNTY OF ALAMEDA; ) Judge:             Hon. Linda Lopez
     COUNTY OF VENTURA; COUNTY    ) Court Room:        5D
18   OF LOS ANGELES, CITY OF SAN  )
19   JOSE; and COUNTY OF SANTA    )
     CLARA,                       )
20                                )
21              Defendants.       )
                                  )
22

23          TO PLAINTIFFS AND THEIR ATTORNEYS OF RECORD:
24          PLEASE TAKE NOTICE that in accordance with Civil Local Rule 7.1(j),
25   Defendant, CITY OF SAN DIEGO, hereby joins in:
26          1.   “Response of Defendant County of Imperial to Order to Show Cause
27   [ECF No. 18]” (ECF No. 30), on the grounds that Plaintiffs lack standing to bring a
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 1   pre-enforcement action and the action should be dismissed in its entirety. These
 2   arguments apply equally to the City of San Diego.
 3         2.     “Response of Defendant County of Alameda to Order to Show Cause”
 4   (ECF 33), on the grounds that Plaintiffs lack standing and the Court should dismiss
 5   the action in its entirety for lack of Article III jurisdiction. These arguments apply
 6   equally to the City of San Diego.
 7

 8 Dated: April 11, 2023                         MARA W. ELLIOTT, City Attorney
 9

10                                               By
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12                                                     Matthew L. Zollman
                                                       Deputy City Attorney
13
                                                 Attorneys for Defendant
14                                               CITY OF SAN DIEGO
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